           Case 1:21-mj-00033-RMM Document 14 Filed 06/08/21 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
      v.                                     :       Cr. No. 21-mj-33
                                             :
PETER J. HARDING,                            :
                                             :
                       Defendant.            :

                    JOINT MOTION TO CONTINUE STATUS HEARING

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, respectfully files this joint motion to continue the status hearing scheduled for June

10, 2021 to August 9, 2021. In support of this motion, the government and Defendant Peter

Harding state as follows:

       1.      On January 11, 2021, the Court issued an Arrest Warrant based on a Criminal

Complaint and its supporting Statement of Facts charging Mr. Harding with violations of 18 U.S.C.

§ 1752(a)(1) and (2) (Knowingly Entering or Remaining in any Restricted Building or Grounds

Without Lawful Authority) and 40 U.S.C. § 5104(e)(2)(C) (Violent Entry and Disorderly Conduct

on Capitol Grounds).

       2.      On January 13, 2021, the defendant was arrested pursuant to the Arrest Warrant

and had an initial appearance in the U.S. District Court for the Western District of New York on

January 14, 2021.

       3.      On January 19, 2021, the defendant had an initial appearance in the U.S. District

Court for the District of Columbia.

       4.      On February 2, 2021, the parties appeared for an ascertainment of counsel and

status hearing. At that hearing, a further ascertainment of counsel and status hearing was set for

March 4, 2021. That hearing was later continued to March 31, 2021.
          Case 1:21-mj-00033-RMM Document 14 Filed 06/08/21 Page 2 of 2




        5.      On March 31, 2021, the parties appeared for a hearing. At that hearing, a further

status hearing was set for June 10, 2021.

        6.      Since the March 31, 2021 hearing, the government has provided some discovery to

the defendant, which the defendant is reviewing. Additionally, the parties agreed to a protective

order that the Court subsequently issued. The parties have also begun discussing whether a

resolution short of trial is possible.

        7.      The parties therefore jointly request that the June 10, 2021 hearing be continued for

60 days, to August 9, 2021, to allow the defendant time to continue to review the discovery

provided, the government time to provide additional discovery, and for the parties to continue

discussing whether a resolution short of trial is possible.

        8.      Counsel for the defendant has authorized the government to represent that the

defendant does not oppose the exclusion of time until the next hearing for purposes of the Speedy

Trial Act because the ends of justice served by a continuance based on the facts stated above

outweigh the interest of the public and the defendant in a speedy trial.


                                               Respectfully submitted,

                                               CHANNING D. PHILLIPS
                                               ACTING UNITED STATES ATTORNEY
                                               D.C. Bar No. 415793

                                               By:     /s/ Stuart Allen
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Dated: June 8, 2021

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